Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF WASHINGTON

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Easterday Ranches, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  5235 N. Industrial Way
                                  Pasco, WA 99301
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Franklin                                                        Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  152330 S. Nine Canyon Road
                                                                                                  Kennewick, WA 99337
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.easterdayfarms.com


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    Easterday Ranches, Inc.                                                                  Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                1121

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                           The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12

9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                              Case number
                                                 District                                 When                              Case number


10. Are any bankruptcy cases
    pending or being filed by a
                                        No
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                 Relationship
                                                 District                                 When                          Case number, if known


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Debtor   Easterday Ranches, Inc.                                                                 Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or       No
    have possession of any
    real property or personal    Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                                                            152330 S. Nine Canyon Road
                                           Where is the property?           Kennewick, WA, 99337-0000              *See Rider 1 for additional locations
                                                                            Number, Street, City, State & ZIP Code
                                                                                                                   of personal property that requires
                                                                                                                   immediate attention
                                           Is the property insured?
                                            No
                                            Yes.       Insurance agency    Mutual of Enumclaw Insurance Company
                                                        Contact name        Payne West Insurance, Inc.
                                                        Phone               509-946-6161


         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                    50-99                                          5001-10,000                               50,001-100,000
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




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                                     Rider 1 to Voluntary Petition

            Additional Locations of Personal Property that Requires Immediate Attention




12. Does the debtor own or have possession of any real property or personal property
    that needs immediate attention?


            8230 Blanton Rd., Eltopia, WA 99330

            1499 Rd 12.5W, Royal City, WA 99357

            515 Bellflower Rd., Mesa, WA 99343

            4021 West Klamath, Basin City, WA 99343

            16001 Rd D SE, Othello, WA 99344

            11701 R-170, Mesa, WA 99343.




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   January 31, 2021

   Easterda
          ay Ranches, Inc.
   Easterda
          ay Farms Paartnership
   1427 N. First Avenu
                     ue
   Pasco, WA
          W 99301


   Re: Eng
         gagement off Paladin Ma
                               anagement Group, LLC
                                                  C – Chief Resstructuring Officer Servvices

   To Whom
         m it May Con
                    ncern:

   This Lettter of Agreemment (“Agreeement”) confirms the tterms underr which each     h of Easterd day
   Farms Pa             a Easterday Ranchess, Inc. (each , a “Client,” and collecttively, the
             artnership and
   “Compan   ny” or “you”) is engagin
                                    ng Paladin Managemen
                                                 M             t Group, LLC C, a Nevadaa Limited
   Liability Company
             C         (“Paladin,” “w
                                    we,” or “us”)) to provide the Company with Chie    ef Restructu uring
   Officers, assisted byy other persoonnel of Paladin, to perrform the se  ervices speccified below.
   This Agreeement is efffective upoon the later of
                                                  o (i) approvval of this Enngagement Letter by ea  ach
   Company’s governin   ng body (i.e., its Board of
                                                  o Directors or managin   ng partner), and (ii) the date
   that a Directors’ andd Officers’ Liability
                                    L         insurance policyy that is reasonably accceptable to us is
   first bound (“Effectivve Date”).
1
1. Chief Re
          estructuring
                     g Officer
   Paladin will
             w make Sccott Avila an nd Peter Ricchter availabble to serve as the co-C Chief
   Restructturing Officeers (the "CRO
                                    Os") for eachh Client. Thhe CROs will report direcctly to the BBoard
   of Directtors for Eastterday Rancches, Inc., an
                                                 nd to the Gooverning Body with resp  pect to
   Easterdaay Farms Pa  artnership (the “Board”)). Each of th he CROs willl have the aauthority to act
   on behallf of the Commpany grantted to the CROs
                                                C      by the Board and w  will owe the
                                                                                      e duties imp posed
   on an offficer of a co
                        ompany under applicable law. Each     h of the CROOs will remaain at all tim
                                                                                                   mes
   an emplo  oyee or inde
                        ependent co ontractor of Paladin and  d will not be
                                                                          ecome an em  mployee of tthe
   Company.
2
2. Scope off Services
   Subject to
           t the appro oval and direection of the
                                                e Board, thee CROs will provide the following
   services as authorizzed by the Board and ass agreed by Paladin (“C  CROs Servicees”):
       Assist
          A     in idenntifying vario
                                    ous strategic restructurring strategies and asse
                                                                                   essing the
          business and d financial im
                                    mpact of thoose strategiies.
         Assist
          A      in deve
                       eloping and
                                 d implementting cash maanagement and cash fllow forecastting
          processes.




          63
           33 W. 5th Stre
                        eet, 28th Floorr, Los Angeless, CA 90071 | 213.320.55
                                                                            500 | paladin
                                                                                        nmgmt.com



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         Assist in assessing the Company’s liquidity outlook, debt service capacity and
          appropriate capital structure.
         Assist in the design and implementation of a restructuring plan.
         Subject to the limitations contained herein and in Appendix A, assist with the
          preparation of financial forecasts and reports that may be required by the Company’s
          Board, lenders and stakeholders.
         Assist with strategic communications and negotiations with the Company’s lenders,
          significant vendors, and other stakeholders.
         Assist in the sale or the monetization of the Company's assets.
         Assist the Company in considering, authorizing, filing, and administering cases under
          chapter 11 of the U.S. Bankruptcy Code.
         Provide such further advice and support as the parties agree.
3. CROs Support Services
   Paladin will make available such additional Paladin personnel as Paladin deems necessary
   or appropriate to assist and support the CROs in the performance of the CROs Services. The
   Paladin personnel will remain at all times employees or independent contractors of Paladin
   and will not become employees of the Company.
4. Retainer and Compensation
   The Company has paid Paladin a retainer or retainers in connection with a prior engagement
   (the “Retainer”) upon the execution of this Agreement. The balance of the Retainer, after
   accounting for fees accrued on account of the prior engagement, will be retained by Paladin
   in connection with this Agreement. The Company will be billed for Services on an hourly
   basis in accordance with the General Terms (defined below). Paladin Personnel’s
   professional fees range from $350 to $795 per hour, depending on the personnel assigned
   to the particular task. The CROs’s rate will be $795 per hour, subject to adjustments as set
   forth in the General Terms.
5. Term
   This Agreement shall remain in effect until terminated by either party. This Agreement may
   be terminated at any time by either party upon written notice to the other party.
6. General Terms and Conditions
   The General Terms and Conditions set forth in Appendix A (the “General Terms”) are
   incorporated herein by reference and set forth additional terms and conditions of the
   parties’ agreement. The Company acknowledges that it has read and agrees to the General
   Terms.
7. Superseding Terms
   This Agreement supersedes any and all prior understandings, agreements, retentions, or
   undertakings between the Parties or with respect to any of the Company’s affiliates with
   respect to Paladin’s services, including but not limited to that certain Engagement Letter
   dated December 23, 2020, all of which are hereby terminated and expunged.



                                                 ii

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BY EXECUTION OF THIS LETTER OF AGREEMENT, the Parties agree to be bound by the terms
of this Agreement, including the General Terms.
The undersigned each represent and warrant that they have the requisite authority to bind
the party on whose behalf they have signed, and that this Agreement is enforceable against
such party.

EASTERDAY RANCHES, INC.                        PALADIN MANAGEMENT GROUP, LLC
EASTERDAY FARMS PARTNERSHIP




                                               By: _____________________
By: ______________________________
                                               Its: Managing Partner
Its: ______________________________
                                               Date: ____________________________
Date: ____________________________




                                            iii

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                                                  Appendix A
                            General Terms and Conditions – CROs Services Agreement
                                        Paladin Management Group, LLC

1. Retainer and Compensation
    (a) Hourly Billing. The Company will be billed for Services on an hourly basis at the current hourly rate of
the Paladin Personnel performing the Services. Paladin adjusts its hourly rates periodically. The Company
agrees to pay the hourly rates as reasonably adjusted. Paladin’s fees and expenses will be billed to the
Company as often as weekly and are payable upon receipt. Billable Services include services provided to the
Company by Paladin Personnel prior to the Effective Date of the Agreement and after termination of the
engagement.
    (b) Retainer. The Retainer ensures payment of Paladin’s fees. Paladin may apply the Retainer to unpaid
invoices without prior notice. Paladin may increase the Retainer based upon changing circumstances. The
Company shall replenish the Retainer upon Paladin’s request. The Retainer will not accrue interest. The
balance of the Retainer after payment of Paladin’s final invoice, if any, will be returned to the Company.
     (c) Travel. The Company will be responsible for Paladin Personnel travel time and expenses, including
travel time and expenses incurred in traveling to and from the Paladin Personnel’s home offices to the
Company’s offices. Paladin will bill travel time at one-half of the applicable hourly rate; provided that Paladin
will bill travel time at its normal hourly rates to the extent Paladin Personnel are performing Services while
traveling.
     (d) Expenses. The Company will pay or reimburse Paladin, as applicable, for all documented out-of-pocket
expenses reasonably incurred by Paladin and Paladin Personnel in the performance of the Services through
the termination date and the reasonable expenses incurred in connection with the Services after the
termination date such as travel, and other expenses. Such expenses shall include travel, meals and lodging,
delivery services, etc. In addition, in states where Paladin is obligated to collect sales taxes on professional
services, such taxes will be billed to the Company.
2. Paladin Personnel
    Except as otherwise provided in this Agreement, the Services may be performed by such employees,
agents or independent contractors of Paladin, or of any subsidiary or affiliate of Paladin, as Paladin may
determine. References to “Paladin Personnel” herein include those employees, agents, and independent
contractors of Paladin and its subsidiaries or affiliates that perform Services for the Company.
3. Independent Contractor Status
    Paladin shall serve as an independent contractor under this Agreement. Paladin will have exclusive
control over the management and operation of the Services provided by Paladin Personnel and will be
responsible for hiring, supervising and paying the wages or other compensation due to the Paladin Personal in
connection with this Agreement. No Paladin Personnel will be employed or engaged by the Company either as a
director, officer, member, manager, partner, control person, employee, representative, agent or independent
contractor, or in any other capacity; provided that the CROs will serve as an officer of the Company. No Paladin
Personnel will be entitled to receive from the Company any compensation, vacation pay, sick leave, retirement,
pension or social security benefits, workers’ compensation, disability, unemployment insurance benefits or any
other employee benefits. Paladin will be responsible for all employment, withholding, income and other taxes
incurred in connection with the Services.
4. Company Acknowledgements.
     The Company acknowledges and agrees that neither Paladin, nor any Paladin Personnel, make any
representations, guarantees or predictions that, inter alia: (i) An appropriate restructuring proposal or strategic
alternative can be formulated; (ii) Any restructuring proposal or strategic alternative formulated by Paladin will
achieve the intended results or will be more successful than other possible restructuring proposals or strategic
alternatives; (iii) Restructuring is the best course of action for the Company; (iv) Any restructuring proposal or
strategic alternative formulated by Paladin will be accepted by the Board, or the Company’s creditors,
shareholders and other stakeholders. The Company further acknowledges that numerous factors affect the




                                                         iv

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Company’s actual financial and operational results, and that these results may materially and adversely differ
from the objectives of the restructuring plan or strategy formulated or proposed by Paladin.
5. Accuracy and Completeness of Information
     The Company is responsible for providing Paladin with accurate and complete information and materials.
The Company will provide Paladin with full access to all Company personnel, books and records, including
those of the Company’s attorneys, accountants, other agents and third-party representatives, that Paladin
Personnel reasonably request in connection with the performance of the Services. Paladin Personnel are
entitled to rely on the accuracy of the information and materials provided and shall have no duty to verify the
reliability, accuracy or completeness of such information. The Company is responsible for the accuracy and
reliability of any plans, strategies, forecasts, quantitative financial models, projections and related
computations prepared by Paladin in reliance upon any inaccurate or incomplete information or materials
provided. Paladin shall incur no liability to the Company or any third-party arising out of any unreliable,
inaccurate or incomplete information or materials provided by the Company.
6. Company Responsibilities
    The Company will make all decisions relating to whether the Company pursues or does not pursue a
particular restructuring proposal, transaction, plan or strategy. The Company is responsible for the
implementation and outcome of any restructuring proposal, transaction, plan or strategy pursued by the
Company. The Company is responsible for any Work Product (as defined in Section 12) that is modified in any
material respect without Paladin’s approval.
7. Excluded Services
    Neither Paladin nor any Paladin Personnel will perform any of the following services: insurance advice;
investment advice; asset management services, legal, tax or regulatory advice or services; or accounting or
audit services, including any financial statement reporting services that are subject to the rules of the AICPA,
SEC or other state or national professional or regulatory body.
8. Bankruptcy Proceedings
    In the event the Board resolves to file for bankruptcy under Chapter 11 of the Bankruptcy Code or has
reason to believe an involuntary petition is likely to be filed, the following provisions shall apply:
    (a) Approval of Engagement. The Company will promptly seek the Bankruptcy Court's approval of
Paladin’s engagement under this Agreement. The application, proposed order and other supporting documents
submitted to the Bankruptcy Court seeking such approval must be satisfactory to Paladin in all respects.
    (b) Bankruptcy Services. The term Services as used in this Agreement shall include the services provided
by Paladin Personnel in connection with any Bankruptcy Court proceedings (“Bankruptcy Services”). The term
“Services” as used herein shall include the Bankruptcy Services.
    (c) Retainer. Paladin may increase the Retainer amount to account for the additional Bankruptcy Services
and the Company shall promptly pay Paladin the additional Retainer amount.
    (d) Reimbursement of Costs. Subject to the approval of the Bankruptcy Court, the Company shall pay or
reimburse Paladin for all costs reasonably incurred by Paladin or Paladin Personnel in connection with the
Bankruptcy Services, including attorney fees.
9. Insurance, Indemnification & Limitation of Liability
    As an inducement to Paladin to agree to the Engagement and as further consideration for the Services,
each of the Clients jointly and severally agrees to indemnify, insure, defend and limit Paladin’s liability as
provided below.
    (a) Indemnification. Each of the Clients will indemnify, defend and hold harmless Paladin and its affiliates
and their respective former and present members, managers, directors, officers, employees, agents,
independent contractors and controlling persons (each an "Indemnified Party" and collectively, the
"Indemnified Parties") to the fullest extent permitted by law against any and all liability (including legal fees and
other costs reasonably incurred in the course of investigating, preparing or defending any action or claim
asserted against an Indemnified Party), arising out of or relating to the Services performed under this
Agreement and the Company’s restructuring efforts generally; provided that such indemnity shall not apply to


                                                          v

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(i) any loss, claim, damage, liability or expense to the extent it is found in a final judgment by a court of
competent jurisdiction (not subject to further appeal) to have resulted primarily and directly from such
Indemnified Party's gross negligence or willful misconduct, or breach of the confidentiality obligations
contained in this Agreement, and (ii) any claim by the Client(s) against Paladin as to Paladin’s breach of its
obligations under this Agreement.
    (b) Limitation of Liability. No Indemnified Party will have any liability for special, consequential, incidental
or exemplary damages or loss (including lost profits, savings or business opportunity). The Indemnified Parties’
aggregate liability is limited to and shall not exceed the total fees paid to Paladin by the Company for Services
under this Agreement.
   (c) Additional Indemnification of the CROs. Indemnification of CROs. The Company shall indemnify the
CROs to the same extent as the most favorable indemnification it extends to its officers or managers.
    (d) The Company agrees that it will not, without the prior consent of the Indemnified Party, settle or
compromise or consent to the entry of any judgment in any pending or threatened claim, action, suit or
proceeding in respect of which such Indemnified Party seeks indemnification hereunder (whether or not such
Indemnified Party is an actual party to such claim, action, suit or proceedings) unless such settlement,
compromise or consent includes an unconditional release of such Indemnified Party from all liabilities arising
out of such claim, action, suit or proceeding.
    (e) The indemnification and limited liability provisions contained in this Agreement shall survive and
remain in full force and effect upon the termination of this Agreement and the filing of a petition under Chapter
7 or 11 of the United States Bankruptcy Code (or the conversion of an existing ease to one under a different
chapter).
    (f) The rights provided herein are in addition to and shall not be deemed exclusive of any other rights to
which the Indemnified Parties may be entitled under this Agreement, applicable law or otherwise.
10. Conflicts
     Paladin is not currently aware of any relationships with other clients that create actual or potential conflicts
of interest with the Company. However, because Paladin serves clients on an international basis, it is possible
that Paladin has rendered services to entities or individuals who are in competition with the Company or whose
interests potentially conflict with the Company’s interests, including creditors of the Company. Nothing in this
Agreement prevents Paladin from providing services to such other entities or individuals now or in the future,
provided Paladin makes appropriate arrangements to ensure that the confidentiality of the Company’s
information is maintained. Further, Paladin will not represent the interests of any entities or individuals whose
interests are known by Paladin to directly conflict with the Company’s interests in connection with any matter in
which Paladin is currently providing services to the Company.
11. Confidential Information
     Paladin acknowledges and agrees that Paladin Personnel will have access to certain Confidential
Information belonging to the Company the disclosure or the use of which in a manner that does not serve the
interests of the Company will cause irreparable damage and loss to the Company. For these reasons, Paladin
covenants and agrees as follows:
    (a) Use of Confidential Information. Except as otherwise expressly provided herein, Paladin will use the
Confidential Information only in connection with the performance of the Services. Paladin will use reasonable
efforts to maintain the confidentiality of the Confidential Information.
    (b) Confidential Information.
            i. “Confidential Information” means any data or information that is proprietary to the Company
               and/or its affiliates that is not generally known to the public, whether in tangible or intangible
               form, in any and all mediums, including, but not limited to: (i) financial information, projections,
               operations, sales estimates, business plans and performance results, marketing strategies, and
               business plans; (ii) plans for products or services, and customer or supplier lists; (iii) any
               scientific or technical information, invention, design, process, procedure, formula, improvement,
               technology or method; (iv) any concepts, reports, data, know-how, works-in-progress, designs,
               development tools, specifications, computer software, source code, object code, flow charts,



                                                         vi

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               databases, inventions, information and trade secrets; (v) any other information that should
               reasonably be recognized as confidential information of the Company; and (vi) any Work
               Product excluding the Engagement Tools (as those terms are defined in Section 12).
               Confidential Information need not be novel, unique, patentable, copyrightable or constitute a
               trade secret in order to be designated Confidential Information.
           ii. Confidential Information shall not include information which: (i) was lawfully possessed by
               Paladin prior to receiving the Confidential Information from the Company; (ii) becomes rightfully
               known by Paladin from a third-party source not under an obligation to Company to maintain
               confidentiality; (ii) is generally known by the public through no fault of or failure to act by Paladin
               inconsistent with its obligations under this Agreement; (iv) is required to be disclosed in a
               judicial or administrative proceeding, or is otherwise requested or required to be disclosed by
               law or regulation, although the requirements of paragraph 4 hereof shall apply prior to any
               disclosure being made; and (v) is or has been developed by employees, consultants or agents of
               Paladin without violation of the terms of this Agreement, including the Engagement Tools.
     (c) Permitted Disclosures. Paladin may make reasonable disclosures of Work Product pursuant to and in
accordance with Section 12(g) below. In addition, Paladin may make reasonable disclosures of Confidential
Information: (i) to third parties in connection with the performance of its services under this Agreement so long
as such disclosures are made pursuant to a confidentiality agreement in form and substance satisfactory to
the Company or otherwise with the knowledge and consent of the Company; (ii) in connection with any dispute
between Paladin and the Company under or concerning this Agreement, and (iii) pursuant to any request by
FINRA, the Securities and Exchange Commission or any other regulatory authority, or pursuant to any order,
subpoena or other regulatory or legal process. Paladin shall have the unrestricted right to use and disclose the
Engagement Tools, and Paladin shall have the right to use the Company's name and logo, and to provide a
description of the services provided by Paladin under this Agreement, in Paladin's public marketing materials.
     (d) Compelled Disclosure of Confidential Information. In the event that Paladin becomes legally compelled
to disclose any Confidential Information, Paladin shall provide the Company with prompt notice thereof prior to
any disclosure of Confidential Information so that the Company may contest such requirement or seek a
protective order or other appropriate remedy. Paladin shall use its reasonable best efforts to assist Company
in such efforts. In the event that disclosure is required, Paladin will furnish only that portion of the Confidential
Information which is legally required.
     (e) Warranty Regarding Authority to Disclose Confidential Information, Indemnification. The Company
represents and warrants to Paladin that it has the authority to disclose the Confidential Information to Paladin
and agrees to indemnify and defend Paladin against any claims or liability arising out of the Company’s
disclosure of the Confidential Information to Paladin and/or Paladin’s use and disclosure of the Confidential
Information pursuant to and in accordance with this Agreement.
     (f) Survival. The rights and obligations of the Parties under this Agreement shall survive the termination
of this Agreement and remain binding for a period of one (1) year from the termination date.
     (g) Injunctive Relief. Paladin acknowledges and agrees a violation of this Agreement could cause
irreparable injury to the Company and as there is no adequate remedy at law for such violation, the Company
may, in addition to any other remedies available to it at law or in equity, enjoin Paladin in a court of equity for
violating or threatening to violate this Agreement.
   (h) Ownership of Confidential Information. All Confidential Information disclosed to Paladin by the
Company shall remain the property of the Company.
    (i) Return or Destruction of Confidential Information. Upon written request of the Company, Paladin shall
promptly return to the Company all Confidential Information and documents received or otherwise obtained
from the Company and all copies and excerpts of the same. Upon written request of the Company, Paladin
shall also permanently destroy all electronic and digital versions of the Confidential Information and the
documents.
     (j) This Agreement shall supersede any preexisting Confidentiality and/or Nondisclosure of Confidential
Information Agreement between Paladin and the Company.
12. Work Product; Engagement Tools



                                                         vii

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    (a) Work Product. Work Product refers to all work product created or produced by Paladin Personnel
directly for the Company and delivered to the Company as part of this Engagement, including advice, analyses,
financial models, reports, strategies, plans, proposals, and presentation materials.
    (b) Engagement Tools. Engagement Tools includes all methodologies, processes, techniques, ideas,
concepts, know-how, procedures, software, templates, models and other intellectual property created,
acquired or developed by Paladin Personnel independently of or in connection with this Engagement that are
employed by Paladin Personnel in the development and creation of the Work Product.
    (c) Ownership and License. The Engagement Tools are the sole and exclusive property of Paladin. The
Company shall not acquire any interest in the Engagement Tools except that Paladin grants the Company a
royalty free, worldwide, perpetual, non-transferable license to use the Engagement Tools to the extent they are
contained in the Work Product. The Work Product, excluding the Engagement Tools contained therein, is the
sole and exclusive property of the Company.
     (d) No Third-Party Beneficiaries. The Work Product is intended solely for the use and benefit of the
Company and this Agreement shall not be interpreted as conferring any rights on any other individual as a
third-party beneficiary or otherwise.
    (e) Time and Data Sensitive Material. The Company acknowledges that the appropriateness, accuracy
and reliability of the Work Product is specific to factors existing at the time the Work Product is developed and
that any changes in those factors including those resulting from the passage of time, and any modifications to
the Work Product can materially affect the appropriateness, accuracy and reliability of the Work Product.
    (f) Non-Disclosure. The Company covenants and agrees not to disclose Work Product to any persons
other than the Company’s equity holders, board members, managers, officers, employees, attorneys, agents
and other representative, unless:
               i. Paladin consents to the disclosure;
              ii. The Work Product contains no material modifications that have not been approved by Paladin;
             and
             iii. The disclosure includes a disclaimer approved by Paladin.
     (g) Non-Responsibility; Indemnification. Neither Paladin nor any Indemnified Party (as defined in Section
9) shall be liable for, and the Company shall indemnify, defend, and hold the Indemnified Parties harmless
against, any claims, damages or expense, including attorney fees, arising out of the disclosure of Work Product
by the Company or any of its representatives that is not authorized pursuant to subparagraph (f).




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13. Alternative Dispute Resolution Procedure
    The parties agree to arbitrate any claims or disputes concerning, relating to, or arising out of this
Agreement, except claims or disputes: (i) where the amount in controversy exceeds $500,000; or (ii) where
the Company, or any individual or other entity comprising the Company, files a voluntary bankruptcy under title
11 of the United States Code, or has an involuntary bankruptcy petition under title 11 of the United States
Code filed against it.
     If the alternative dispute resolution procedure applies, then any claim or dispute concerning, relating to or
arising out of this Agreement shall be determined by arbitration in Washoe County, Nevada before a sole
retired judge arbitrator in accordance with the laws of the State of Nevada. The arbitration shall be
administered by and heard before JAMS pursuant to its Streamlined Arbitration Rules and Procedures.
Judgment on the award may be entered in any court having jurisdiction. The arbitrator shall, in the award,
allocate all the costs of the arbitration, including the fees of the arbitrator and the reasonable attorneys’ fees
and costs of the prevailing party against the party who did not prevail.
14. Non-Solicitation
    For a period of six (6) months after the later of: (i) the completion of all services to be provided by Paladin
under this Agreement; or (ii) termination of this Agreement, the Company, including any affiliates thereof, shall
not hire, retain or utilize (other than through Paladin) the services of any current or former employee or
independent contractor of Paladin who provided services under this Agreement at any time. The Company
agrees and acknowledges that Paladin’s remedy at law for any breach of the provisions of this Section would
be inadequate and that for any breach of such provisions Paladin will, in addition to such other remedies as
may be available to it at law or in equity, be entitled to injunctive relief and to enforce its rights by an action for
specific performance to the extent permitted by law.
15. No Partnership, Joint Venture, or Agency Relationship; Independent Judgment
     Nothing in this Agreement shall be construed as creating a partnership, joint venture or agency
relationship between Paladin or Paladin Personnel, and the Company. Paladin shall have no authority to act
for or on behalf of the Company. Further, the Company acknowledges and agrees that the Company’s Board
and executive officers are sophisticated individuals who have the knowledge and experience required to make
decisions independently of the advice provided by Paladin or the CROs. The Company covenants and agrees
that it will exercise independent judgment in making decisions relating to any restructuring plan, business
strategy or other transaction proposed by Paladin or the CROs.
16. Company’s Joint and Several Liability; Right of Setoff
    If the Company consists of one or more individuals or entities, then the Company’s obligations under this
Agreement shall be joint and several obligations of each individual or entity comprising the “Company.” Each
such individual or entity shall execute this Agreement. Without limiting any other remedy that may be available
to Paladin under this Agreement or applicable law, where the “Company” under this Agreement consists of
more than one individual or entity, then Paladin shall have against each such individual or entity a right of
setoff (notwithstanding any lack of mutuality) under which Paladin may set off against any claim against
Paladin by any individual or entity comprising the Company group, all of the claims that Paladin may have
against any or all of the individuals or other entities that comprise the Company.
17. Attorneys’ Fees and Expenses
    Should a party institute legal action to enforce any of the terms of this Agreement, the non-prevailing party
shall pay to the prevailing party all reasonable costs, damages, and expenses, including attorneys' fees,
expended or incurred by the prevailing party.
18. Consent; Entire Agreement
    In any instance under this Agreement where a party’s consent is permitted or required to be given, such
consent shall not be withheld unreasonably. This Agreement contains the entire Agreement of the parties with
respect to its subject matter and supersedes all prior agreements and understandings between the Company
and Paladin with respect to such subject matter. Any modification of or supplement to this Agreement shall be
effective only if such modification or supplement is in writing and signed by all parties.




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19. Multiple Originals
     This Agreement may be executed in any number of counterparts, each of which shall be deemed an
original, but all of which together shall constitute one and the same document. This Agreement may be
executed by facsimile signatures or signatures forwarded via email.
20. Governing Law; Venue
   This Agreement shall be governed by and construed and interpreted in accordance with the laws of
Nevada (without regard to conflict of laws principles). Venue for all purposes shall be Washoe County, Nevada.




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    Fill in this information to identify the case:

    Debtor name Easterday           Ranches, Inc.
    United States Bankruptcy Court for the:            Eastern District of Washington
                                                                               (State)                                                     Check if this is an
    Case number (If known):   21-                                                                                                          amended filing




  Official Form 204
  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
  Unsecured Claims and Are Not Insiders                                                                                                                    12/15


 A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
 disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
 secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
 largest unsecured claims, on a consolidated basis.




   Name of creditor and complete          Name, telephone number, and email Nature of the claim Indicate if claim Amount of unsecured claim
   mailing address, including zip         address of creditor contact       (for example, trade is contingent, If the claim is fully unsecured, fill in only
   code                                                                     debts, bank loans, unliquidated, or unsecured claim amount. If claim is partially
                                                                               professional        disputed         secured, fill in total claim amount and deduction
                                                                               services, and                        for value of collateral or setoff to calculate
                                                                               government                           unsecured claim.
                                                                               contracts)
                                                                                                                    Total       Deduction for    Unsecured claim
                                                                                                                    claim, if   value of
                                                                                                                    partially   collateral or
                                                                                                                    secured     setoff
1. Tyson Fresh Meats, Inc.  Perkins Coie LLP             Litigation                                    C,U,D                                              At least
   800 Stevens Port Drive   1201 Third Avenue, Suite                                                                                              $225,000,000.00
   Dakota Dunes, SD 57049   4900
                            Seattle, WA 98101-3099
                            Phone: 206.359.8410
                            Attn: Alan D. Smith:
                            adsmith@perkinscoie.com
                            Attn: Bradley Cosman
                            bcosman@perkinscoie.com
2. Segale Properties        Contact: E. Olson            Money Loaned                                                                              $8,647,408.57
   P.O. Box 88028           Tel: 206-575-2000
   Tukwilla, WA 98138       Email:
                            Eolson@segaleproperties.com
3. Animal Health            Contact: Latoya Laso         Trade Debt                                                                                $1,081,633.63
   International            Tel: 509-837-3590
   1654 S First St          Email:
   Sunnyside, WA 98944      latoya.laso@animalhealthinte
                            rnational.com
4. Sun Basin Operations-CHS Contact: Jamie Nguyen        Trade Debt                                                                                   $489,869.55
   P.O. Box 608             Tel: 509-542-9604
   Quincy, WA 98848         Email:
                            Jamie.Nguyen@chsinc.com



Official Form 204     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                                  page 1
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   Name of creditor and complete     Name, telephone number, and email Nature of the claim Indicate if claim Amount of unsecured claim
   mailing address, including zip    address of creditor contact       (for example, trade is contingent, If the claim is fully unsecured, fill in only
   code                                                                debts, bank loans, unliquidated, or unsecured claim amount. If claim is partially
                                                                          professional        disputed         secured, fill in total claim amount and deduction
                                                                          services, and                        for value of collateral or setoff to calculate
                                                                          government                           unsecured claim.
                                                                          contracts)
                                                                                                               Total       Deduction for    Unsecured claim
                                                                                                               claim, if   value of
                                                                                                               partially   collateral or
                                                                                                               secured     setoff
5. Cenex Harvest States      Contact: Troy Odvody        Trade Debt                                                                              $274,596.14
   300 West Feedville Road   Tel: 800-700-2295
   Hermiston, OR 97838       Email:
                             troy.odvody@chsinc.com
6. Pacific Ag Products LLC   Contact: Andrea Aquilio     Trade Debt                                                                              $213,298.30
   400 Capitol Mall Ste 2060 Tel: 916-403-2756
   Sacramento, CA 95814      Email:
                             AAQuilio@pacificethanol.com
7. ITC Services              Contact: Diana G.           Trade Debt                                                                              $145,374.93
   4172 N Frontage Rd E      Tel: 509-766-7024
   Moses Lake, WA 98837      Email:
                             dianag@inlandtarp.com
8. Western Stockmen's LB     Contact: Cindy Smith        Trade Debt                                                                              $140,784.19
   413058                    Tel: 541-969-3543
   JR Simplot Company        Email:
   P.O. Box 35143            cindy.a.smith@simplot.com
   Seattle, WA 98124-5143
9. Brad Curtis Farms LLC     Contact: Brad Curtis        Trade Debt                               C,U,D                                          $125,000.00
   8853 Langford             Tel: 509-521-3030
   Mesa, WA 99343            Email: bcurtis@eltopia.com
10.Pegram Construction, Inc. Contact: Doyle Pegram      Trade Debt                                                                               $123,984.00
   P.O. Box 418              Tel: 509-488-2246
   Othello, WA 99344         Email:
                             doyle@pegramconstruction.c
                             om
11.Tri-Cities Grain          Contact: Damon Filan       Trade Debt                                                                               $106,616.06
   600 Tank Farm Road        Tel: 545-0900
   Pasco, WA 99301           Email: Damon@tcgrain.com
12.Copenhaver Construction,         Tel: 509-636-2800                    Trade Debt                                                                $75,625.00
   Inc.                             Email:
   22393 SR 2 East                  copenhavercci@gmail.com
   Creston, WA 99117
13.Viterra Canada Inc. 2625         Contact: Kimberly Banilevic-         Trade Debt               C,U,D                                            $77,410.08
   Victoria Ave Regina,             Lamb
   Saskatchewan Canada S4T          Tel: 306-569-4581
   7T9                              Email: kimberly.banilevic-
                                    lamb@viterra.com
14.Production Animal                Contact: Lisa Taylor                 Trade Debt                                                                $56,309.49
   Consultation LLC                 Tel: 785-672-7490
   307 S Main                       Email:
   Scott City, KS 67871             accounting@pacdvms.com


Official Form 204   Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                               page 2
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   Name of creditor and complete     Name, telephone number, and email Nature of the claim Indicate if claim Amount of unsecured claim
   mailing address, including zip    address of creditor contact       (for example, trade is contingent, If the claim is fully unsecured, fill in only
   code                                                                debts, bank loans, unliquidated, or unsecured claim amount. If claim is partially
                                                                          professional        disputed         secured, fill in total claim amount and deduction
                                                                          services, and                        for value of collateral or setoff to calculate
                                                                          government                           unsecured claim.
                                                                          contracts)
                                                                                                               Total       Deduction for    Unsecured claim
                                                                                                               claim, if   value of
                                                                                                               partially   collateral or
                                                                                                               secured     setoff
15.Layne Of Washington, Inc. Tel: 509-545-9546                           Trade Debt                                                                $44,000.00
   P.O. Box 610              Email: laynepump@aol.com
   Pasco, WA 99301
16.Empire Rubber & Supply Tel: 503-235-8461          Trade Debt                                                                                    $17,030.96
   P.O. Box 14950          Email:
   Portland, OR 97293-0950 erspasco@empirerubber.com
17.ECS Northwest LLC                Contact: Jeremy                      Trade Debt                                                                $16,530.94
   P.O. Box 4180                    Tel: 509-430-8788
   Pasco, WA 99302-4180             Email: jeremy@ecsnw.com
18.Oregon Trail Veterinary          Tel: 541-567-1138                    Trade Debt                                                                $15,405.89
   Clinic                           Email:
   80489 Highway 395                Oregontrailvet@gmail.com
   North Hermiston, OR
   97838
19.Tarp-It, Inc.                    Tel: 509-962-4664                    Trade Debt                                                                $10,600.45
   3000 Wilson Creek Rd             Email: jgy6969@gmail.com
   Ellensburg, WA 98926
20.Yakima Mechanical                Tel: 509-469-2773                    Trade Debt                                                                $10,167.09
   Services                         Email:
   205 So. 4th Ave                  yakmec205@gmail.com
   Yakima, WA 98902




Official Form 204   Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                               page 3
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                                                                           1      Thomas A. Buford, III (WSBA 52969)
                                                                                  Bush Kornfeld LLP
                                                                           2      601 Union St., Suite 5000
                                                                                  Seattle, WA 98101
                                                                           3      Telephone: (206) 292-2110
                                                                                  Email: tbuford@bskd.com
                                                                           4
                                                                                  Richard M. Pachulski (Pro Hac Vice Pending)
                                                                           5      Alan J. Kornfeld (Pro Hac Vice Pending)
                                                                                  Jeffrey W. Dulberg (Pro Hac Vice Pending)
                                                                           6      Pachulski Stang Ziehl & Jones LLP
                                                                                  10100 Santa Monica Blvd., 13th Floor
                                                                           7      Los Angeles, CA 90067
                                                                                  Telephone: 310/ 277-6910
                                                                           8      Facsimile: 310/ 201-0760
                                                                                  Email: rpachulski@pszjlaw.com
                                                                           9              akornfeld@pszjlaw.com
                                                                                          jdulberg@pszjlaw.com
                                                                           10
                                                                                  Proposed Attorneys for Debtor and Debtor in Possession
                                                                           11
                                                                                                               UNITED STATES BANKRUPTCY COURT
P ACHULSKI S TANG Z IEHL & J O NES LLP




                                                                           12
                                                                                                               EASTERN DISTRICT OF WASHINGTON
                                         SAN F RA NCISCO , CAL IFOR NI A




                                                                           13
                                             ATTOR NE YS A T L AW




                                                                                  In re:                                               Chapter 11
                                                                           14
                                                                                  EASTERDAY RANCHES, INC.                              Case No. 21-_____ (___)
                                                                           15
                                                                                                                 Debtor.
                                                                           16                                                          LIST OF EQUITY SECURITY
                                                                                                                                       HOLDERS
                                                                           17

                                                                           18              Following is the list of the Debtor’s equity security holders which is prepared in accordance

                                                                           19     with Rule 1007(a)(3) for filing in this Chapter 11 Case:

                                                                           20         Name and Last Known Address or Place of             Security      Number of         Kind of
                                                                                                Business of Holder                         Class        Securities        Interest
                                                                           21
                                                                                      Cody A. Easterday
                                                                           22         830 Bellflower Road                                                   25%          Shareholder
                                                                                      Mesa, WA 99343-9564
                                                                           23         Debby Easterday
                                                                                      830 Bellflower Road                                                   25%          Shareholder
                                                                           24         Mesa, WA 99343-9564
                                                                                      Karen L. Easterday
                                                                           25         830 Bellflower Road                                                   50%          Shareholder
                                                                                      Mesa, WA 99343-9564
                                                                           26

                                                                           27

                                                                           28

                                                                                  LIST OF EQUITY SECURITY HOLDERS
                                                                                  DOCS_LA:335453.2

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                                                                           1      Thomas A. Buford, III (WSBA 52969)
                                                                                  Bush Kornfeld LLP
                                                                           2      601 Union St., Suite 5000
                                                                                  Seattle, WA 98101
                                                                           3      Telephone: (206) 292-2110
                                                                                  Email: tbuford@bskd.com
                                                                           4
                                                                                  Richard M. Pachulski (Pro Hac Vice Pending)
                                                                           5      Alan J. Kornfeld (Pro Hac Vice Pending)
                                                                                  Jeffrey W. Dulberg (Pro Hac Vice Pending)
                                                                           6      Pachulski Stang Ziehl & Jones LLP
                                                                                  10100 Santa Monica Blvd., 13th Floor
                                                                           7      Los Angeles, CA 90067
                                                                                  Telephone: (310) 277-6910
                                                                           8      Facsimile: (310) 201-0760
                                                                                  Email: rpachulski@pszjlaw.com
                                                                           9              akornfeld@pszjlaw.com
                                                                                          jdulberg@pszjlaw.com
                                                                           10
                                                                                  Proposed Attorneys for Debtor and Debtor in Possession
                                                                           11
                                                                                                              UNITED STATES BANKRUPTCY COURT
P ACHULSKI S TANG Z IEHL & J O NES LLP




                                                                           12
                                                                                                              EASTERN DISTRICT OF WASHINGTON
                                         SAN F RA NCISCO , CAL IFOR NI A




                                                                           13
                                             ATTOR NE YS A T L AW




                                                                                  In re:                                               Chapter 11
                                                                           14
                                                                                  EASTERDAY RANCHES, INC.                              Case No. 21-_____ (___)
                                                                           15
                                                                                                                 Debtor.
                                                                           16                                                          CERTIFICATION OF CREDITOR
                                                                                                                                       MATRIX
                                                                           17

                                                                           18              Pursuant to Rule 1007(a)(1) of the Federal Rules of Bankruptcy Procedure, the above

                                                                           19     captioned Debtor hereby certifies that the Creditor Matrix submitted herewith contains the names

                                                                           20     and addresses of the Debtor’s creditors. To the best of the Debtor’s knowledge, the Creditor Matrix

                                                                           21     is complete, correct, and consistent with the Debtor’s books and records.

                                                                           22              The information contained herein is based upon a review of the Debtor’s books and records

                                                                           23     as of the petition date. However, no comprehensive legal and/or factual investigations with regard to

                                                                           24     possible defenses to any claims set forth in the Creditor Matrix have been completed. Therefore, the

                                                                           25     listing does not, and should not, be deemed to constitute: (1) a waiver of any defense to any listed

                                                                           26     claims; (2) an acknowledgement of the allowability of any listed claims; and/or (3) a waiver of any

                                                                           27     other right or legal position of the Debtor.

                                                                           28

                                                                                  CREDITOR MATRIX CERTIFICATION
                                                                                  DOCS_LA:335453.2

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                                                                           1      Thomas A. Buford, III (WSBA 52969)
                                                                                  Bush Kornfeld LLP
                                                                           2      601 Union St., Suite 5000
                                                                                  Seattle, WA 98101
                                                                           3      Telephone: (206) 292-2110
                                                                                  Email: tbuford@bskd.com
                                                                           4
                                                                                  Richard M. Pachulski (Pro Hac Vice Pending)
                                                                           5      Alan J. Kornfeld (Pro Hac Vice Pending)
                                                                                  Jeffrey W. Dulberg (Pro Hac Vice Pending)
                                                                           6      Pachulski Stang Ziehl & Jones LLP
                                                                                  10100 Santa Monica Blvd., 13th Floor
                                                                           7      Los Angeles, CA 90067
                                                                                  Telephone: (310) 277-6910
                                                                           8      Facsimile: (310) 201-0760
                                                                                  Email: rpachulski@pszjlaw.com
                                                                           9              akornfeld@pszjlaw.com
                                                                                          jdulberg@pszjlaw.com
                                                                           10
                                                                                  Proposed Attorneys for Debtor and Debtor in Possession
                                                                           11
                                                                                                               UNITED STATES BANKRUPTCY COURT
P ACHULSKI S TANG Z IEHL & J O NES LLP




                                                                           12
                                                                                                               EASTERN DISTRICT OF WASHINGTON
                                         SAN F RA NCISCO , CAL IFOR NI A




                                                                           13
                                             ATTOR NE YS A T L AW




                                                                                  In re:                                               Chapter 11
                                                                           14
                                                                                  EASTERDAY RANCHES, INC.                              Case No. 21-_____ (___)
                                                                           15
                                                                                                                 Debtor.
                                                                           16                                                          CORPORATE OWNERSHIP
                                                                                                                                       STATEMENT PURSUANT TO
                                                                           17                                                          FEDERAL RULES OF BANKRUPTCY
                                                                                                                                       PROCEDURE 1007(a)(1) AND 7007.1
                                                                           18                                                          AND LOCAL BANKRUPTCY RULE
                                                                                                                                       1007-1
                                                                           19

                                                                           20              Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to

                                                                           21     evaluate possible disqualification or recusal, the Debtor, certifies that the following is a

                                                                           22     corporation other than the Debtor, or a governmental unit, that directly or indirectly owns 10%

                                                                           23     or more of any class of the corporation’s equity interests, or states that there are no entities to

                                                                           24     report under FRBP 7007.1.

                                                                           25      None [check if applicable]
                                                                           26               Name:
                                                                                            Address:
                                                                           27

                                                                           28

                                                                                  CORPORATE OWNERSHIP STATEMENT
                                                                                  DOCS_LA:335453.2

                                                                                21-00141-WLH11         Doc 1    Filed 02/01/21    Entered 02/01/21 12:49:07         Pg 28 of 68
A & M Supply
P.O. Box 1166
Hermiston, OR 97838



A.V. Labs, Inc.
64 N Broadway Ave
Othello, WA 99344



AAA Concrete, Inc.
PO Box 908
Spokane WA 99210



AAW Auto Parts
606 Boeing Street
Pasco, WA 99301-7117



AB Livestock LLC
Matt Buyers
1555 Shoreline Drive
Suite 320
Boise, ID 83702



AFLAC
1932 Wynnton Road
Columbus, GA 31999-0797



Agri Northwest
PO Box 2308
Tri-Cities, WA 99302-2308



Agri-Service Northwest
P.O. Box 299
Eltopia, WA 99330


DOCS_LA:335588.1 20375/001


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All American Propane
50 W Summit St
Othello, WA 99344



Ally Commercial Department
12850 W Gran Bay Parkway
Jacksonville, FL 32258



AMB Tools and Equipment, Inc.
608 W Nob Hill Blvd
Yakima, WA 98902



American General Life Insurance
P.O. Box 0798
Carol Stream IL 60132-0798



American Radiator
204 North Oregon
Pasco, WA 99301



American Rock Products, Inc.
P.O. Box 742347
Los Angeles, CA 90074



AmeriGas-Kennewick
204 N Fruitland St
Kennewick, WA 99336




DOCS_LA:335588.1 20375/001                        2

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Animal Health International
1654 S First St
Sunnyside, WA 98944



Applied Industrial Tech
P.O. Box 100538
Pasadena, CA 91189-0538



Arnold Garza Trucking
1611 W. Lee Rd
Othello, WA 99344



Asuris Northwest Health
PO Box 2597
Portland, OR 97208-2597



Attorney General's Office
Bankruptcy & Collections Unit
800 Fifth Avenue, Suite 2000
Seattle, WA 98104



AXA Equitable Life Insurance Company
1290 Avenue of the Americas, 16th Floor
New York, NY 10104



AXA Insurance
P.O. Box 430
Othello, WA 99344



B & B Express
7519 W Kennewick Ave
Kennewick, WA 99336



DOCS_LA:335588.1 20375/001                        3

21-00141-WLH11               Doc 1   Filed 02/01/21   Entered 02/01/21 12:49:07   Pg 31 of 68
Baker Commodities, Inc.
P.O. Box 58368
Seattle, WA 98138-1368



Basin City Auto Parts, Inc.
P.O. Box 627
Connell, WA 99326



Basin Disposal, Inc.
P.O. Box 3850
Pasco, WA 99302-3850



Basin Feed & Supply
1331 E Nelson Rd
Moses Lake, WA 98937



Basin Sod, Inc.
13218 Hwy 395
Eltopia, WA 99330-7989



Battery Systems
12322 Monarch St
Garden Grove CA 92841-2909



Benton County Building Department
102206 E Wiser Parkway
Kennewick, WA 99338




DOCS_LA:335588.1 20375/001                        4

21-00141-WLH11               Doc 1   Filed 02/01/21   Entered 02/01/21 12:49:07   Pg 32 of 68
Benton County Clean Air Authority
526 S Clodfelter Rd
Kennewick, WA 99336



Benton County PUD
P.O. Box 6270
Kennewick, WA 99336-0270



Benton County Treasurer
P.O. Box 630
Prosser, WA 99350-0630



Big Bend Electric Cooperative, Inc.
P.O. Box 348
Ritzville, WA 99169-0348



Big D's Construction
3902 N Swallow Ave
Pasco, WA 99301



Bird Control Systems
27350 SW 95th Ave Ste 3022
Wilsonville, OR 97070-77



Bison Pipe & Supply
PO Box 258
Jerome, ID 83338-0258



BJ Hydraulics Inc.
6590 South M-43 Highway
Delton MI 49046




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BJK Truck Parts, LLC
80862 Highway #395 N
Hermiston, OR 97838



Blue Banner Truck Wash, LLC
PO Box 5887
Pasco, WA 99302



Blueline Equipment
1605 E Mead Ave
Yakima, WA 98903



BobCat of Pasco
P.O. Box 94098
Seattle, WA 98124-9498



Brad Curtis Farms LLC
8853 Langford
Mesa, WA 99343



Brandt Nutrition Systems, LLC
430 Southshore Drive
Lake Winnebago, MO 64034



Bridgestone Americas
62861 Collections Center Drive
Chicago, IL 60693



Byrnes Oil
P.O. Box 700
Pendleton, OR 97801


DOCS_LA:335588.1 20375/001                        6

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C & A Logistics
P.O. Box 766
Othello, WA 99344



C & G Cattle Company
Camas & Gretchen Uebelacker
1824 W Foley Road
Othello, WA 99344



Casaday Bee-Line
1708 W Lewis St
Pasco, WA 99301



Cascadia International, LLC
P.O. Box 1196
Tacoma, WA 98401



Cattle-Fax
9110 E Nichols Ave Ste 301
Centennial, CO 90112



Cenex Harvest States
300 West Feedville Road
Hermiston, OR 97838



Central Hose and Fittings
2214 N 4th Ave
Pasco, WA 99301




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Central Machinery - Equip Acct
PO Box 2838
Pasco, WA 99302



Central Machinery Sales
PO Box 1217
Moses Lake, WA 98837



CenturyLink
P.O. Box 4300
Carol Stream, IL 60197-4300



CH2O International
8820 Old Hwy 99 SE
Olympia, WA 98501



CHS Capital, LLC dba CHSC MN,
a Minnesota LLC
5500 Cenex Drive
Inner Grove Heights, MN 55077



City of Pasco
525 North 3rd Avenue



Clearwater Napa
5819 W Clearwater Ave
Kennewick, WA 99336



Clemente Garza Trucking
P.O. Box 1226
Othello, WA 99344




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Cody A. Easterday
5235 Industrial Way
Pasco, WA 99301



Coleman Oil Company
529 E Kennewick Ave
Kennewick, WA 99336



Columbia Basin Belt & Rubber LLC
2220 E Hillsboro St Ste B
Pasco WA 99301-9811



Columbia Basin Garage Doors LLC
2603 N Harrington Rd
West Richland, WA 99353



Columbia Electric Supply
P.O. Box 398855
San Francisco, CA 94139-8855



Columbia Grain and Feed
P.O. Box 2361
Pasco, WA 99301



Columbia Pump Company
3510 Stearman Ave
Pasco WA 99301




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Columbia Rigging Corp
2407 East A Street
Pasco, WA 99301



Commercial Tire
P.O. Box 970
Meridian, ID 83680



Commodities Plus II, LLC
5207 E 3rd Ave
Spokane Valley, WA 99212



Commodity Futures Trading Commission
1155 21st St NW
Washington, DC 20581



Connell Auto Parts
P.O. Box 973
Connell WA 99326



Connell Grain Growers
3132 Road O NE
Moses Lake, WA 98837



Conrado Garza Trucking
P.O. Box 766
Othello, WA 99344



Consolidated Disposal Services
PO Box 1154
Ephrata, WA 98823




DOCS_LA:335588.1 20375/001                        10

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Copenhaver Construction, Inc.
22393 SR 2 East
Creston, WA 99117



Country Hedging
P.O. Box 64089
St. Paul, MN 55164-0089



Crane Bergdahl
Attorney At Law
P.O. Box 2755
Pasco, WA 99302



Cubby's Electric Motor & Pump Repair
1716 West A Street
Pasco, WA 99301



Day Wireless Systems
2608 W Sylvester
Pasco, WA 99301



DeLaval Dairy Service
2761 E Edison Ste B
Sunnyside, WA 98944-1320



Department of Agriculture
P.O. Box 4395, Unit 17
Portland, OR 97208-4395




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Department of Justice
United States Attorney's Office
Eastern District of Washington
PO Box 1494
Spokane, WA 99210-1494



Department of Labor & Industries
Collections
P.O. Box 44171
Olympia, WA 98504-4171



Department of Labor & Industry
P.O. Box 44410
Olympia WA 98504-4410



Department of Licensing
P.O. Box 9228
Olympia, WA 98507-9228



Department of Transportation
Risk Management Office
P.O. Box 47418
Olympia, WA 98504-7418



Desert Rain Irrigation
5573 Road 11 SW
Royal City, WA 99357



DLL Finance, LLC
Brenda Entriken
PO Box 2000
Johnston, IA 50131




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DOL/ Franklin Co Auditor
P.O. Box 1451
Pasco, WA 99301-1451



Easterday Diesel & Mfg
51 Bellflower Rd
Mesa, WA 99343



Easterday Farms
5235 N Industrial Way
Pasco, WA 99301



Eastern Oregon Telecom, LLC
PO Box 930
Hermiston OR 97838-0848



ECS Northwest LLC
P.O. Box 4180
Pasco, WA 99302-4180



Empire Heavy Equipment Repair, Inc.
3071 E Edison
Sunnyside, WA 98944



Empire Rubber & Supply
P.O. Box 14950
Portland, OR 97293-0950



Employment Security Department
UI Tax Admin
P.O. Box 9046
Olympia, WA 98507-9046



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Employment Security Dept
P.O. Box 34467
Seattle, WA 98124-1467



English Hay Company
510 Bellflower Rd
Mesa, WA 99343



Equitable Agrifinance
JP Morgan Chase
131 S Dearborn, 6th Floor
Chicago, IL 60603



Equitable AgriFinance
Erin Plumb JP Morgan Chase
131 S Dearborn, 6th Floor
Chicago, IL 60603



Equitable AgriFinance
Erin Plumb
JP Morgan Chase
131 S Dearborn, 6th Floor
Chicago, IL 60603



Equitable Financial Life Insurance Company
1290 Avenue of the Americas, 16th Floor
New York, NY 10104



Etter McMahon Lamberson Oreskovich
618 W Riverside Ave
Suite 210
Spokane, WA 99201


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Ferguson Enterprises, Inc.
PO Box 847411
Dallas TX 75284-7411



Franklin County Treasurer
P.O. Box 1011
Pasco, WA 99301



Franklin County Treasurer
1016 N. 4th Avenue
Pasco, WA 99301



Freeman Farms, LLC
1085 S. Athey Road
Othello, WA 99344



Frontier Performance Lubricants
P.O. Box 1777
Lodi, CA 95241



G & R Ag Products, Inc.
P.O. Box 966
Pasco, WA 99301-0966



Grainger
Dept 808012744
PO Box 419267
Kansas City, MO 64141-6267




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Grant County PUD
P.O Box 878
Ephrata, WA 98823



Greeneye LLC
Box 12607
Grand Forks, ND 58208



H & N Electric Timken
Motor & Crane Svc
Dept 1234- PO Box 121234
Dallas, TX 75312-1234



H.D. Fowler Company
P.O. Box 84368
Seattle, WA 98124-5668



Hagerman, Inc.
82891 Bud Draper Drive
Umatilla, OR 97882



Harbor Freight Tools
P.O. Box 748076
Los Angeles, CA 90074-8076



Holland & Hart LLP
Robert A. Faucher, Esq.
PO Box 2527
Boise, ID 83701-2527



Honda Yamaha Cycletown
P.O. Box 946
Hermiston, OR 97838


DOCS_LA:335588.1 20375/001                        16

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Hydrotex
PO Box 678195
Dallas TX 75267-8195



IMV Imaging North America
2900 43rd Street NW Ste 600
Rochester, Minnesota 55901



Industrial Iron Works
PO Box 748
Okanogan, WA 98840



Ingersoll Rand
15768 Collections Center DR
Chicago IL 60693



Internal Revenue Service
Centralized Insolvency Operations
PO Box 7346
Philadelphia, PA 19101-7346



International Belt & Rubber
4132 B Place NW
Auburn, WA 98001-2445



International Trade Solutions
P.O. Box 12607
Grand Forks, ND 58208




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Irrigation Specialist
P.O. Box 2544
Pasco, WA 99302



ITC Services
4172 N Frontage Rd E
Moses Lake, WA 98837



J & L Hydraulics
1120 W Lewis ST
Pasco, WA 99301



JD's Truck Repair Inc.
1210 S Grey Ave.
Pasco, WA 99301



Jeffrey Shawver
P.O. Box 61
Connell WA 99326



Jim's Pacific Garages, Inc.
2708 N Commercial Ave
Pasco, WA 99301



Joel Tuttle JTT Farms
6701 Eltopia West Rd
Eltopia, WA 99330



Jones Manufacturing Co
PO Box 38
Beemer, NE 68716




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JUB Engineers, Inc.
2810 W Clearwater Ave Ste 201
Kennewick, WA 99336



Kaman Industrial Technologies
P.O. Box 74566
Chicago, IL 60690



Kennewick Industrial Supply
113 E Columbia Drive
Kennewick, WA 99336



Kennewick Ranch & Home
845 Columbia Center Blvd
Kennewick, WA 99336



Kenworth Sales Company
2402 N Commercial Ave
Pasco, WA 99301



Kimball Midwest
Dept L-2780
Columbus, OH 43260-2780



Kuo Testing Labs, Inc.
337 South 1st
Othello, WA 99344




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L & H Branding Irons
P.O. Box 639
Mandan ND 58554



Lad Irrigation
P.O. Box 880
Moses Lake, WA 98837



Layne of Washington, Inc.
P.O. Box 610
Pasco, WA 99301



Lithia Dodge
PO Box 4186
Portland OR 97208-4186



LocalTel Communications
343 Grant Road
East Wenatchee, WA 98802



Lourdes Occupational Health Center
P.O. Box 94331
Seattle, WA 98124



M & M Bolt Company
1315 N Oregon Ave
Unit 101
Pasco, WA.99301



Mack Financial Services
P.O. Box 7247-0236
Philadelphia, PA 19170-0236



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Marion County Public Works
Transportation Permits Section
5155 Silverton Road NE
Salem, OR 97305



Mascott Equipment
200 S 20th Ave
Pasco, WA 99301



Mid Columbia Forklift
PO Box 9667
Yakima, WA 98909



Midwest PMS LLC
11347 Business Park Cir
Firestone, CO 80504



Mighty Johns Portable Toilet
P.O. Box 5481
Kennewick, WA 99336



Milne Nail, Power Tool & Repair
1303 W Lewis Street
Pasco, WA 99301



Mobile Fleet Service
P.O. Box 10828
Yakima, WA 98909-1828




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Monarch Machine
P.O. Box 810
Pasco, WA 99301-0810



Murphy & Buchal LLP
3425 SE Yamhill Street St 100
Portland, OR 97214



Nationwide Trust Company, FSB
P.O. Box 183046
Columbus, OH 43218-3046



Nelson Cattle Carriers LLC
P.O. Box 125
Fort Rock, OR 97735



Newhouse Mfg. Co.
1048 N 6th Street
Redmond, OR 97756



Nick Desmarais Excavation
P.O. Box 1060
Connell, WA 99326



Noland Door Company
30472 Oldfield St
Hermiston, OR 97838



Norco
P.O. Box 413124
Salt Lake City, UT 84141-3124




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North Coast Electric
P.O. Box 748177
Los Angeles, CA 90074-8177



Northstar Clean Concepts Hotsy
633 N Helena Street
Spokane, WA 99202



Northwest CPA Group PLLC
1333 Columbia Park Trail, Ste 210
Richland WA 99352



Northwest Equipment Sales, Inc.
2405 South Janeen St.
Boise, ID 83709



Northwest Farm Supply
P.O. Box 941
Hermiston, OR 97838



NW Mixer Feeders
PO Box 326
Caldwell, ID 83606



Office of the Attorney General
Bankruptcy & Collections Unit
800 Fifth Avenue Suite 2000
Seattle, WA 98104




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Oil Re-refining Company, Inc.
4150 N Suttle Rd
Portland OR 97217-7717



Oregon Department of Agriculture
PO Box 4395 Unit 17
Portland OR 97208-9982



Oregon Department of Revenue
955 Center Street NE
Salem, OR 97301



Oregon Department of Transportation
Motor Carrier Division
3930 Fairview Industrial Drive SE
Salem, OR 97302-1166



Oregon Trail Veterinary Clinic
80489 Highway 395 North
Hermiston, OR 97838



Othello Auto Parts
1175 S 1st Ave
Othello, WA 99344



Othello Welding
2680 S Broadway Ave
Othello, WA 99344



Oxarc
P.O. Box 2605
Spokane, WA 99220-2605



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Pacific Ag Products LLC
400 Capitol Mall Ste 2060
Sacramento, CA 95814



Pacific Steel
P.O. Box 3035
Pasco, WA 99302-3035



Pacwest Machinery LLC
8207 South 216th Street
Kent, WA 98032



Pape Machinery, Inc.
PO Box 35144 #5077
Seattle, WA 98124-5144



Paradise Bottled Water
6202 W Deschutes Ave
Kennewick, WA 99336



Parts City Auto Supply
PO Box 998
Royal City, WA 99357



Pasco Auto Parts-Napa
1724 W Lewis St
Pasco, WA 99301




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Pasco Auto Wrecking
3602 East A Street
Pasco, WA 99301



Pasco Machine Co, Inc.
518 West Columbia
Pasco, WA 99301



Payne West Insurance
PO Box 4386
Missoula, MT 59806



PDM Steel Service Centers, Inc.
1785 Schurman Way
Woodland, WA 98674



Pegram Construction, Inc.
P.O. Box 418
Othello, WA 99344



Perfection Glass 1238
Coumbia Park Trail
Richland, WA 99352



PerforMix Nutrition Systems
2201 N 20th Street
Nampa, ID 83687



Perkins Coie LLP
Alan D. Smith, Esq.
1201 Third Avenue, Suite 4900
Seattle, WA 98101



DOCS_LA:335588.1 20375/001                        26

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PGT
16 Buckingham Terrace
Lake Oswego, OR 97034



Pro Auto Glass
1351 Wyman Street
Richland, WA 99354



Pro Build
PO Box 94190
Seattle, WA 94190



Production Animal Consultation LLC
307 S Main
Scott City, KS 67871



Prudential Asset Resources
2100 Ross Avenue Ste
2500 Dallas TX 75201



Quarter Circle Cattle Company
PO Box 31121
Billings MT 59107



Quill Corporation
P.O. Box 37600
Philadelphia, PA 19101-0600




DOCS_LA:335588.1 20375/001                        27

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Rabo AgriFinance
P.O. Box 790077
Saint Louis, MO 63179-0077



Rabo Agrifinance, Inc.,
as Collateral Agent
10100 Trinity Pkwy., Suite 400
Stockton, CA 95219



Rabo Agrifinance, Inc.,
as Collateral Agent
P.O. Box 411995
St. Louis, MO 63141



Rabo Agrifinance, Inc., as Mortgagee
12443 Olive Blvd, Suite 50
St. Louis, MO 63141



Rabo Agrifinance, LLC
14767 N. Outer 40 Rd., Suite 400
Chesterfield, MO 63017



RaboBank Visa Card
PO Box 790408
St Louis, MO 63179-0408



Randy Allred Livestock LLC
14368 Road 12.5 SW
Royal City, WA 99357



Rangeview Ag Labor LLC
PO Box 547
Othello, WA 99344



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Razor Tech LLC
802 S Maitland Ave
Pasco, WA 99301



RDO Equipment
P.O. Box 2445
Pasco, WA 99302



Regency Mill Services, LLC
14510 Garrision Dr
Amarillo, TX 79118



Rexel USA dba Platt Electric
P.O. Box 418759
Boston, MI 02241-8759



RiverTech Irrigation
80568 Hwy. 395 N
Hermiston, OR 97838



Robert A. Faucher, Esq.
PO Box 2527
Biose, ID 83701-2527



Rockmount Research & Alloys, Inc.
PO Box 35142 #2807
Seattle, WA 98124



Rogers Surveying, Inc.
1455 Columbia Park Trail


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Ste 201
Richland, WA 99352



S.S. EQ., Inc.
New Holland Pasco
P. O. Box 967
Pasco, WA 99301



SAS Auto Electric
2810 W 10th
Kennewick, WA 99336



Scales NW LLC
39120 West Scio Road
Scio, OR 97374



Schreiner-Tuttle Farms
11701 Rd 170
Mesa, WA 99343



Segale Properties
P.O. Box 88028
Tukwilla, WA 98138



Servi-Tech, Inc.
Box 1397
Dodge City, KS 67801



Shayne Carlisle Concrete Construction
4705 W Octave
Pasco, WA 99302




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Sherwin-Williams
2518 W Kennewick Ave
Kennewick, WA 99336



Signs By Sue
1215 S 10th
Pasco, WA 99301



Sineco Construction LLC
79544 Powerline Rd
Hermiston OR 97838



Six States Distributors TruckPro LLC
28534 Network Place
Chicago, IL 60673-1285



Smith Equipment & Welding
P.O. Box 625
Prineville, OR 97754



SMK Tri-Cities
PO Box 2548
Pasco, WA 99302



Star Rentals & Sales
P.O. Box 3875
Seattle, WA 98124-3875




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Star Touch Wireless Internet
454 W Stuart
Bellingham, WA 98226



State of Idaho
Over Legal Transportation Department
P.O. Box 34
Boise, ID 83731



State of Washington Department of Ecology
P.O. Box 47611
Olympia, WA 98504-7611



Sun Basin Operations-CHS
P.O. Box 608
Quincy, WA 98848



Sunray Farms, LLC
PO Box 776
Royal City, WA 99357



Tacoma Screw Products, Inc.
2001 Center Street
Tacoma WA 98409-7895



TankMax Inc.
1206 E Lytle Street
Pasco, WA 99301-4310



Tarp-It, Inc.
3000 Wilson Creek Rd
Ellensburg, WA 98926



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TCF National Bank
PO Box 77077
Minneapolis MN 55480-7777



Teton West of Washington, LLC
5806 N Industrial Way, Suite B
Pasco, WA 99301



The Prudential Insurance Company of America
2100 Ross Avenue, Suite 2500
Dallas, TX 75201



Thomas L. Palotas
Pepple Cantu Schmidt PLLC
801 Second Avenue, Suite 700
Seattle, WA 98104



Total Scale Service Inc.
P.O. Box 5156
Boise, ID 83705



Townsend Controls and Electric LLC
2040 N Commercial Ave
Pasco, WA 99301



Transport Equipment, Inc.
5615 East 3rd Ave
Spokane, WA 99212




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Tri Cities Grain, LLC
600 Tank Farm Road
Pasco, WA 99301



Tri-Cities Battery
5900 W Clearwater
Kennewick, WA 99336



Tri-Cities Diesel Injection Service
707 S Oregon Ave
Pasco, WA 99301



Tri-City Forge
5917 Tyre Dr
Pasco, WA 99301



Tri-City Truck Parts
3275 Travel Plaza Way
Pasco, WA 99301



Twin City Metals, Inc.
P.O. Box 6484
Kennewick, WA 99336



Tyson Fresh Meats, Inc.
800 Stevens Port Drive
Dakota Dunes, SD 57049



Tyson Meats Corporation
Jessica Hede (DD 723)
800 Stevens Port Dr
Dakota Dunes, SD 57049



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U.S. Bank
P.O. Box 790408
St Louis, MO 63179-0408



U.S. Linen & Uniforms
1106 Harding
Richland, WA 99352



U.S. Small Business Administration
1545 Hawkins Blvd., Suite 202
El Paso, TX 79925



U.S. Treasury
Secretary of the Treasury
1500 Pennsylvania Ave. NW
Washington, DC 20220



United States Attorney's Office
Attn: Bankruptcy Assistant
U.S. Courthouse
700 Stewart St., Room 5220
Seattle, WA 98101



US Small Business Administration
Seattle District Office (Attn: District Counsel)
2401 Fourth Avenue, Suite 450
Seattle, WA 98121



USDA Farm Service Agency
316 W. Boone Ave., Suite 568
Spokane, WA 99201




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USDA-APHIS Wildlife Services
3060 Bell Road NE
Moses Lake, WA 98837



Viterra Canada Inc.
2625 Victoria Ave
Regina, Saskatchewan Canada S4T 7T9



WA State Department of Labor & Industries
3rd Floor Legal
PO Box 44170
Olympia, WA 98504-4170



WA State Department of Revenue
Bankruptcy / Claims Unit
2101 Fourth Avenue #1400
Seattle, WA 98121-2300



WA State Dept of Ecology
P.O. Box 47611
Olympia WA 98504-7611



WA State Division of Child Support
PO Box 11520
Tacoma, WA 98411



WA State Employment Security Department
Insolvency Unit
PO Box 9046
Olympia, WA 98507-9046




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WA. State Support Registry
Division of Child Support
P.O. Box 9162
Olympia, WA 98507-9162



Wagner Transportation
P.O. Box 192
Twin Falls, ID 83303-0192



Wallowa County Grain Growers
P.O. Box 190
Enterprise OR 97828



Walt's Wholesale Meats, Inc.
350 S Pekin Rd
Woodland, WA 98674



Ward Bros., Inc.
1531 Ironwood Rd.
Eltopia, WA 99330



Washington Cattle Feeders Assoc
P.O. Box 10831
Yakima, WA 98909



Washington State Dept of Ag
P.O. Box 42560
Olympia, WA 98504-2560




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Washington State Dept of Health
P.O. Box 1099
Olympia, WA 98507-1009



Washington Trust Bank
Lukins & Annis
Trevor R. Pincock, Esq.
717 W. Sprague Avenue
Suite 1600
Spokane, WA 99201-0466



Washington Trust Bank
W. Benjamin Cox
Kennewick Financial Center
3250 West Clearwater
Kennewick, WA 99336



Washington Trust Bank
W. Benjamin Cox
PO Box 2127
Spokane, WA 99210-2127



Waste Management
P.O. Box 541065
Los Angeles, CA 90054-1065



Weaver Exterminating
P.O. Box 426
Yakima, WA 98907



Welding Tech
3115 E Ermina Ave
Spokane, WA 99207




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Wentland Diesel
84455 Highway 11
Milton-Freewater, OR 97862



Western Integrated Technologies
PO Box 749748
Los Angeles, CA 90074-9748



Western Peterbilt GWP Holdings, LLC
P.O. Box 35144 #1022
Seattle, WA 98124-5144



Western States
P.O. Box 3805
Seattle, WA 98124-3805



Western Stockmen's LB 413058
JR Simplot Company
P.O. Box 35143
Seattle, WA 98124-5143



Western Trailers
PO Box 5598
Boise, ID 83705



Weyns Farms, LLC
8289 Kulm Road SE
Othello, WA 99344




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Whiteman Lumber
32859 E Canyon Rd
Cataldo, ID 83810



Wild Country Construction
PO Box 83
Malin, OR 97632



Woodpecker Truck
P.O. Box 1306
Pendleton, OR 97801



Worldwide Express
PO Box 101903
Pasadena CA 91189



Yakima Mechanical Services
205 So. 4th Ave
Yakima, WA 98902



Yokohama Tire Corporation
P.O. Box 31001-2137
Pasadena CA 91110-2137



Ziply Fiber
PO Box 740416
Cincinnati OH 45274-0416




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